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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8

 9   DRUG INFORMATION RETRIEVAL
     SYSTEM, LLC,
10                                                          Case No.: 2:20-cv-00736

11          Plaintiff,

12          v.                                              COMPLAINT FOR PATENT
                                                            INFRINGEMENT
13   CARE ZONE, INC.,
                                                            DEMAND FOR JURY TRIAL
14
            Defendant.
15

16

17          For its Complaint, Plaintiff Drug Information Retrieval System, LLC (“Plaintiff” or
18   “DIRS”) hereby alleges alleges as follows:
19                                   JURISDICTION AND VENUE
20          1.      This is an action including for infringement under the patent laws of the United
21   States, 35 U.S.C. § 101, et. seq. This Court has subject matter jurisdiction under 28 U.S.C. §§
22   1331 and 1338(a).
23          2.      This Court has personal jurisdiction over Defendant because it is headquartered
24   and/or has its primary place of business in this District, where it has committed the infringing
25   acts alleged herein.
26

     COMPLAINT - 1                                                                       LAW OFFICE OF
                                                                                 CARL J. MARQUARDT, PLLC
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 1          3.      Venue is proper in this Judicial District under 28 U.S.C. §§ 1391(b)-(c) and 1400.

 2                                                PARTIES

 3          4.      Plaintiff is a Wyoming company having its principal place of business in Florida.

 4          5.      Upon information and belief, Defendant Care Zone, Inc. is a Delaware

 5   corporation having a principal place of business at 1463 East Republican Street #198, Seattle

 6   WA 98112.

 7                                         CLAIM FOR RELIEF

 8                             (Infringement of U.S. Patent No. 8,155,887)

 9          6.      Plaintiff incorporates by this reference all of the allegations stated in the above

10   paragraphs.

11          7.      Plaintiff is the owner by assignment of U.S. Patent No. 8,155,887 (“the ‘887

12   patent”) entitled “Computer Visualized Drug Interaction Information Retrieval,” which duly and

13   lawfully issued on April 10, 2012 to named inventor Leigh M. Rothschild. A true and correct

14   copy of the ‘887 patent is attached hereto as Exhibit A.

15          8.      The ‘887 patent covers the methods, systems and products claimed, and protects

16   the exclusive right to utilize those inventions, which were not routine or conventional at the time

17   of the inventions.

18          9.      The claims of the ‘887 patent are directed to, for example, a “computer-

19   implemented method for computer visualization of drugs for drug interaction information

20   retrieval,” and Claim 1, for example, recites elements including, inter alia: (a) “acquiring, for

21   each of multiple different substances, imagery of at least one external characteristic of a physical

22   body of the substance;” (b) “determining an identity of each of the multiple different substances

23   based upon the at least one external characteristic from the acquired imagery;” (c) retrieving drug

24   interaction data for each of the multiple different substances using the determined identities;” (d)

25   “correlating, using a processor, drug interaction data for at least one of the multiple different

26

     COMPLAINT - 2                                                                         LAW OFFICE OF
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 1   substances with at least one other of the multiple different substances;” and (e) “displaying the

 2   correlated drug interaction data.”

 3          10.      On information and belief, Defendant has made, used, offered for sale, sold and/or

 4   imported into the United States methods and/or systems and/or products covered by the claims of

 5   the ‘887 patent. For example, as shown in the infringement analysis at Exhibit B, Defendant

 6   employs the method covered by Claim 1 of the ‘887 patent.

 7          11.      On information and belief, Defendant has caused, encouraged and aided others,

 8   including customers, to directly infringe the ‘887 patent having full knowledge of the ‘887 patent

 9   and the specific intent that its acts and the acts of its customers and/or others to directly and/or

10   indirectly infringe the ‘887 patent.

11          12.      By the acts of making, using, offering to sell, selling and/or importing the accused

12   infringing systems and/or methods, Defendant has directly infringed the ‘887 patent under 35

13   U.S.C. § 271(a).

14          13.      By the acts of actively inducing others to infringe the ‘887 patent, Defendant has

15   infringed the ‘887 patent under 35 U.S.C. § 271(b). On information and belief, having

16   knowledge of the ‘887 patent, Defendant specifically intended for its customers to infringe the

17   ‘887 patent by using and/or re-selling the accused infringing systems and/or methods.

18          14.      The acts of infringement asserted herein have been and continue to be deliberate

19   and willful, at least since Defendant first learned about the ‘887 patent.

20          15.      Defendant has derived and received gains, profits and advantages from the

21   aforesaid acts of infringement, and Plaintiff has lost profits and has otherwise been damaged and

22   is entitled to monetary relief in an amount to be determined at trial.

23          16.      The infringement of the ‘887 patent has caused and continues to cause irreparable

24   harm to Plaintiff, for which there is no adequate remedy at law, and the infringement will

25   continue unless and until it is enjoined by this Court.

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     COMPLAINT - 3                                                                          LAW OFFICE OF
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 1                                         PRAYER FOR RELIEF

 2           Therefore, Plaintiff prays for the following relief:

 3           A.      A determination that Defendant has infringed the ‘887 patent under 35 U.S.C. §

 4   271, either literally and/or under the doctrine of equivalents;

 5           B.      An accounting for damages adequate to compensate for the patent infringement

 6   under 35 U.S.C. § 284, including Plaintiff’s actual damages including lost profits, treble

 7   damages, pre-judgment and post-judgment interest, and costs;

 8           C.      A determination of willful patent infringement, and that this is an exceptional

 9   case, and an award of attorney fees and expenses to Plaintiff under 35 U.S.C. § 285; and

10           D.      Such other and further relief as this Court deems just and proper.

11                                         JURY TRIAL DEMAND

12           Pursuant to Fed. R. Civ. P. 38(b)(1) and (c), Plaintiff hereby demands a jury trial on all

13   the issues in this action so triable of right by a jury.

14
      Dated: May 15, 2020                            LAW OFFICE OF CARL J. MARQUARDT PLLC
15

16                                                   /s/ Carl J. Marquardt
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     COMPLAINT - 4                                                                        LAW OFFICE OF
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